Case 2:18-mj-OOOOQ-CMM Document 3 Filed 06/08/18 .i Page 1 of 1 Page|D #: 11

    
 
 

UNITED STATES DISTRICT COURT _'
SOUTHERN DISTRICT OF INDIANA` : §
TERRE HAUTE DIVISION » Zg;§; §§ §

UNITED STATES OF AMERICA, )
Plaintiff, §
V. § CAUSE NO; 2:18-mj-00009-CMM
LEVI MACKENZIE BRENTON, §
Defendant. §
PENALTY SHEET

You have been charged in a Complaint With a violation of the Laws of the United States
of America. The maximum penalties are as follows:

 

Count Supervised
Number Statute Years Fine Release
l 18 U.S.C. § 922(d)(3) 0-10 $250,000 NMT 3
Selling/Giving a Firearm to an Unlawful Years
Drug User
2 18 U.S.C. § 922(g)(3) ()-10 $250,000 NMT 3
Possession of a Firearm by an Unlanul Years
Drug User
3 18 U.S.C. § 922(a)(6) 5 0-10 $250,000 NMT 3
Conspiracy to Provide False Statement Years

During Purchase of a Firearm

Dated:

 

LEVI MACKENZIE BRENTON
Defendant '

l certify that the Defendant was advised of the maximum penalties in the manner set forth
above and that he signed (or refused to sign) the acknowledgement

 

United States Magistrate Judge
Southern District of Indiana

